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11
12                            UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     NICHOLAS J. GIANINO, ARNOLD LEE,           CASE NO.: SACV09-01247 CJC
15   and LORI RISMAN, individually and on       (RNBx)
     behalf of all others similarly situated,
16                                              Discovery Matter
                 Plaintiff,
17                                              DECLARATION OF ANDREW E.
       v.
18                                              PARIS IN SUPPORT OF
     ALACER CORPORATION and DOES 1              DEFENDANT ALACER’S MOTION
19   through 15,                                TO COMPEL INTERROGATORY
20               Defendants.                    RESPONSES
21
                                                Magistrate Judge: Robert N. Block
22                                              Date: November 15, 2011
                                                Time: 9:30 a.m.
23                                              Courtroom: 6D
24                                              Discovery Cut-Off: March 23, 2012
                                                PreTrial Conference: August 6, 2012
25                                              Jury Trial: August 21, 2012
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                        DECLARATION OF ANDREW E. PARIS IN SUPPORT OF
                DEFENDANT ALACER’S MOTION TO COMPEL INTERROGATORY RESPONSES
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 1                          DECLARATION OF ANDREW E. PARIS
 2         I, Andrew E. Paris, declare under penalty of perjury that the following is true
 3   and correct:
 4         1.        I am an attorney duly licensed to practice law before this Court. I am a
 5   partner with the law firm of Alston & Bird LLP, counsel of record for Defendant
 6   Alacer Corporation (“Alacer”) in this matter. I have personal knowledge of the matter
 7   stated herein, and if called upon to do so, I could and would competently testify
 8   hereto.
 9         2.        Attached as Exhibit A is a copy of Plaintiffs’ First Amended Complaint,
10   dated May 5, 2010.
11         3.        Attached as Exhibit B are true and correct copies of: (a) the initial
12   Scheduling Order, dated October 29, 2010; (b) the Order Granting Joint Stipulation
13   To Extend Class Certification Briefing And All Other Scheduled Dates, dated March
14   24, 2011; (c) the Order Re Joint Stipulation To Extend Class Certification Briefing
15   and All Other Scheduled Dates, dated May 12, 2011; and (d) the Order Granting Joint
16   Stipulation To Extend Class Certification Briefing And All Other Scheduled Dates
17   And Increasing Page Limit On Plaintiffs’ Opening Brief In Support Of Class
18   Certification And Defendant’s Opposition To Plaintiffs’ Motion For Class
19   Certification, dated September 12, 2011.
20         4.        On May 25, 2011, Alacer served its First Set of Interrogatories on
21   Plaintiffs Nicholas Gianino, Lori Risman, and Arnold Lee (collectively, “Plaintiffs”).
22   True and correct copies of Alacer’s First Set of Interrogatories to Plaintiffs Gianino,
23   Risman, and Lee are attached hereto as Exhibits C, D, and E, respectively.
24         5.        On July 15, 2011, Plaintiffs served their initial responses to Alacer’s First
25   Set of Interrogatories. True and correct copies of Plaintiffs’ initial responses to
26   Alacer’s First Set of Interrogatories are attached hereto as Exhibits F, G, and H,
27   respectively.
28         6.        On July 22, 2011, Alacer sent Plaintiffs a detailed letter setting forth the
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 1   legal bases for why Plaintiffs’ objections to the 17 Interrogatories (identified in the
 2   Joint Stipulation filed concurrently herewith) were improper and requested that
 3   Plaintiffs supplement their responses to these Interrogatories by July 29, 2011. A true
 4   and correct copy of Alacer’s July 22, 2011 discovery deficiency letter is attached
 5   hereto as Exhibit I.
 6         7.     Plaintiffs did not respond for several weeks and only after Alacer made
 7   several follow-up attempts, Plaintiffs agreed to amend their responses to the
 8   Interrogatories. On August 4, 2011, Plaintiffs sent Alacer a letter, stating that
 9   Plaintiffs “anticipate serving you with amended Interrogatory Responses soon.” A
10   true and correct copy of Plaintiffs’ August 4, 2011 letter is attached hereto as Exhibit
11   J.
12         8.     The next day, on August 5, 2011, Alacer responded to Plaintiffs’ letter,
13   stating that Plaintiffs’ failure to provide a service date for their amended responses
14   was unacceptable and requested that Plaintiffs provide “full and complete responses
15   by the close of business August 12, 2011.” A true and correct copy of Alacer’s
16   August, 5, 2011 letter is attached hereto as Exhibit K. Plaintiffs did not respond to
17   Alacer’s August 5, 2011 letter.
18         9.     On August 16, 2011, Alacer again requested Plaintiffs’ amended
19   responses to the Interrogatories. On August 18, 2011, Plaintiffs responded, via e-mail,
20   that Plaintiffs “intend to get you amended interrogatory responses within the next few
21   weeks. I cannot do sooner given the late summer schedules.” On August 22, 2011,
22   Alacer responded, via email, indicating that Plaintiffs’ response was inadequate
23   because Plaintiffs “did not provide a date certain when [Plaintiffs] will provide
24   responses.” On August 23, 2011, Plaintiffs replied that “with respect to [Plaintiffs]
25   providing you amendment to plaintiffs’ interrogatories, while we do not believe
26   amendment is necessary, we will provide you with amendment. As far as a date
27   certain, I will provide you with the amended interrogatories by September 9, 2011.”
28   A true and correct copy of the Parties’ e-mail exchange beginning August 16, 2011 is
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 1   attached hereto as Exhibit L.
 2         10.    On September 9, 2011, Plaintiffs Risman and Lee served sets of amended
 3   interrogatory responses to Alacer, but made no amendments to the responses of the
 4   Interrogatories-at-issue. Beyond minor and artificial amendments to unchallenged
 5   interrogatory responses, Plaintiffs Risman and Lee’s amended responses for the 17
 6   Interrogatories at-issue are a word for word reproduction of their initial interrogatory
 7   responses, setting forth precisely the same objections provided in Plaintiffs’ initial
 8   responses. True and correct copies of Plaintiff Risman and Lee’s Amended
 9   Responses to Alacer’s First Set of Interrogatories are attached hereto as Exhibits M
10   and N, respectively. Plaintiff Gianino did not serve amended responses, at all.
11         11.    On September 14, 2011, Alacer sent Plaintiffs another detailed letter,
12   explain why Plaintiffs’ objections to the 17 Interrogatories-at-issue are meritless and
13   demanded amended responses, yet again. A true and correct copy of Alacer’s
14   September 14, 2011 discovery deficiency letter is attached hereto as Exhibit O.
15   Plaintiffs refused to comply.
16         12.    On September 22, 2011, the parties met and conferred telephonically,
17   however, Plaintiffs continued to refuse to amend their responses.
18         13.    Alacer’s initial wave of production took place in January 2011 and
19   included the bulk of the scientific support amassed by the company, approximately
20   9,000 pages of citations, studies and other support, as well as packaging and
21   advertising documents. Alacer produced additional science-related documents in
22   early 2011. In April 2011, Alacer produced some 115,000 pages of email documents.
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                                                 3
                         DECLARATION OF ANDREW E. PARIS IN SUPPORT OF
                 DEFENDANT ALACER’S MOTION TO COMPEL INTERROGATORY RESPONSES
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 1   Alacer did a small follow-up production of some 3,400 pages in August and
 2   September 2011.
 3         I declare under penalty of perjury under the laws of the United States of
 4   America that the foregoing is true and correct.
 5
 6                Executed on October 13, 2011 at Los Angeles, California.
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 8                                                  /s/ Andrew E. Paris
 9                                               ANDREW E. PARIS
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                        DECLARATION OF ANDREW E. PARIS IN SUPPORT OF
                DEFENDANT ALACER’S MOTION TO COMPEL INTERROGATORY RESPONSES
